28 F.3d 1209
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Vance Dennis DIXON, Petitioner Appellant,v.William L. Smith, Warden, Maryland House of Corrections;Attorney General of the State of Maryland,Respondents Appellees.
    No. 94-6248.
    United States Court of Appeals, Fourth Circuit.
    Submitted May 24, 1994.Decided June 20, 1994.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Walter E. Black, Jr., Chief District Judge.  (CA-94-212)
      Vance Dennis Dixon, appellant pro se.
      D.Md.
      DISMISSED.
      Before WIDENER, WILKINSON, and NIEMEYER, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. Sec. 2254 (1988) petition.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.*  Dixon v. Smith, No. CA-94-212 (D. Md. Feb. 16, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    
      
        *
         We deny Appellant's Motion for Appointment of Counsel
      
    
    